    Case 17-17712-mdc              Doc 9    Filed 11/14/17 Entered 11/14/17 16:03:57            Desc Main
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                                UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

          IN RE:                                            :
                   Peter Bono                               :     Chapter 13


                   Debtor                                   :     Case No.: 17-17712   MDC



               ORDER GRANTING DEBTOR’S REQUEST FOR AN EXPEDITED HEARING


                                        /
                 AND NOW, this ‘1”5 day ofﬂﬂmﬂé/ , 2017 upon consideration of the
          Debtor’s Motion for an Expedited Hearing to hear Motion to Impose the Automatic Stay,
          it is hereby;


                   ORDERED and DECREED that a hearing           will take place on:
                   Date , 42»? (ft/143w /é/ 00/7        ,




                   Time     #570   gm
                   Debtor’s Counsel shall serve said date and time via a Notice on all interested
                   parties, and the Chapter 13 Standing Trustee.


                   FURTHER ORDERED:



                                                                         J/WXJ' a,“
                                                                         HoWagdeline D. Coleman




Wmm.m-   -_,
